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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------   x

ROYCE CORLEY                                   Plaintiff,
                                                                              DECLARATION OF
                           -against-                                          CHRISTINA ANTE

HONORABLE BONNIE G. WITTNER, J.S.C.;
MICHAEL J. BARRY; ORTS & FILES, INC.; GLENN
F. HARDY, ESQ.; GLENN F. HARDY, P.C.; CYRUS                                     ¶
R. VANCE, JR.; JOHN TEMPLE; DAVID STUART;
GREG WEISS; JOHN DOE; AND THE CITY OF
NEW YORK

                                          Defendants.                         2015 CV 9621(KPF)
-----------------------------------------------------------------------   x



         CHRISTINA ANTE, declares pursuant to 28 U.S.C. 1746, under penalty of perjury, that

the following is true and correct:

              1. I am an Assistant District Attorney in the office of Cyrus R. Vance, Jr., New York

County District Attorney, and I represent Defendants New York County District Attorney Cyrus R.

Vance, Jr., Assistant District Attorneys John Temple, David Stuart, and Greg Weiss (hereinafter

“DA Defendants”) in the above-captioned matter. As such, I am familiar with the facts stated

below.

              2. This declaration is submitted in support of the DA Defendants’ motion to dismiss

the complaint pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure.

              3. A copy of the Criminal Court Complaint for The People of the State of New York v. Royce

Corley, docket number 2012NY007628 is annexed hereto as Exhibit “A.”

              4. A copy of Indictment Number 423/2012 in the case of The People of the State of New

York v. Royce Corley is annexed hereto as Exhibit “B.”
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            5. A copy of the Southern District of New York Indictment 13 CR 048, The United

States of America v. Royce Corley is annexed hereto as Exhibit “C.”

            6. A copy of the Superseded Indictment 13 CR 048, The United States of America v. Royce

Corley is annexed hereto as Exhibit “D.”

            7. A copy of the Recommendation of Dismissal is annexed hereto as Exhibit “E.”

            8. A copy of the Pre-Trial Transcript dated February 7, 2013, for 13 CR 048 is annexed

hereto as Exhibit “F.”

            9. A copy of the Judgment for 13 CR 048 is annexed hereto as Exhibit “G.”

            10. A copy of United States v. Corley, 679 Fed. Appx. 1 (2d Cir. 2017) is annexed hereto as

Exhibit “H.”

            11. A copy of the denial of a writ of certiorari in Corley v. United States, 138 S.Ct. 205

(2017) is annexed hereto as Exhibit “I.”

            12. A copy of portion of the criminal trial transcript, United States v. Corley, 13 CR 048 is

annexed hereto as Exhibit “J.”


Dated: New York, New York
       July 13, 2018



                                         CYRUS R. VANCE, JR.
                                         District Attorney, New York County
                                         1 Hogan Place
                                         New York, New York 10013
                                         (212) 335-9209 telephone
                                         (212) 335-4390 facsimile




                                         By: ____/s/_________________________
                                             Christina Ante (CA-1227)
                                             Assistant District Attorney
                                               Of Counsel


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